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                                                                           UNITED STATES BANKRUPTCY COURT
                                                                          MIDDLE DISTRICT OF NORTH CAROLINA

 Fill in this information to identify your case:


 Debtor 1:               Brandon                                Maurice                    Martin                        Check if this is an amended plan,
                         First Name                             Middle Name                Last Name                  and list below the sections of the
                                                                                                                      plan that have changed.
 Debtor 2:
 (Spouse, if filing)     First Name                             Middle Name                Last Name

 Case Number:
 (If known)

 SSN# Debtor 1: XXX-XX-                     xxx-xx-2831

 SSN# Debtor 2: XXX-XX-



                                                                                 CHAPTER 13 PLAN


 Section 1:           Notices.

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on this form does not indicate that
the option is appropriate in your circumstances. Plans that do not comply with Local Rules and judicial rulings may not be confirmable. You must
check each box that applies in § 1.1 and 1.3 below. If an item is checked as “Not Included” or if both boxes are checked, the provision will be
ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 4, which may result in a               Included                Not Included
              partial payment or no payment at all to the secured creditor.
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest will             Included                Not Included
              be done by separate motion or adversary proceeding.
 1.3          Nonstandard provisions set out in Section 9                                                         Included                Not Included


To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

You will need to file a proof of claim in order to be paid under any plan. Official notice will be sent to Creditors, which will provide the name and
address of the Trustee, the date and time of the meeting of creditors, and information regarding the filing of proofs of claim.

You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one. If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
to confirmation at least seven days before the date set for the hearing on confirmation. You will receive notification from the Bankruptcy Court of
the date set for the hearing on confirmation. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is
filed. See Bankruptcy Rule 3015.

The applicable commitment period is:

                  36 Months

                  60 Months

The amount that allowed priority and non-priority unsecured claims would receive if assets were liquidated in a Chapter 7 case, after allowable
exemptions, is estimated to be $ 0.00 .

 Section 2:           Payments.

2.1 The Debtor will make payments to the Trustee as follows:


APPENDIX D                                                                             Chapter 13 Plan                                        Page 1
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        $2,630.00 per Month for 60 month(s)

        Additional payments               NONE

2.2 The Debtor shall commence payments to the Trustee within thirty (30) days from the date the petition was filed. If fewer than 60 months of
     payments are specified, additional monthly payments will be made to the extent necessary to pay creditors as specified in this plan.

 Section 3:           Fees and Priority Claims.

3.1 Attorney fees.

          The Attorney for the Debtor will be paid the presumptive base fee of $ 4,500.00 . The Attorney has received $                    300.00            from the
        Debtor pre-petition and the remainder of the fee will be paid monthly by the Trustee as funds are available.

           The Attorney for the Debtor will be paid a reduced fee of $      . The Attorney has received $              from the Debtor pre-petition and
        the remainder of the fee will be paid monthly by the Trustee as funds are available.

              The Attorney for the Debtor will file an application for approval of a fee in lieu of the base fee.

3.2 Trustee costs. The Trustee will receive from all disbursements such amount as approved by the Court for payment of fees and expenses.

3.3 Priority Domestic Support Obligations (“DSO”).

        a.        None. If none is checked, the rest of Section 3.3 need not be completed or reproduced.


3.4 Other Priority Claims to be Paid by Trustee.

        a.        None. If none is checked, the rest of Section 3.4 need not be completed or reproduced.

        b. To Be Paid by Trustee

                           Creditor                                                                        Estimated Priority Claim
 Alamance County Tax Collector                                                                                                                                 $0.00
 Burlington Tax Department                                                                                                                                     $0.00
 Internal Revenue Service                                                                                                                                      $0.00
 North Carolina Department of Revenue                                                                                                                          $0.00

 Section 4:           Secured Claims.

4.1 Real Property – Claims Secured Solely by Debtor’s Principal Residence.

        a.        None. If none is checked, the rest of Section 4.1 need not be completed or reproduced.
        b.        Maintenance of Payments and Cure of Default.

              Installment payments on the claims listed below will be maintained and any arrearage will be paid in full. Proofs of claim should reflect
              arrearage amounts through the petition date. For accounts that are in default, the Trustee will commence disbursements of installment
              payments the month after confirmation. Any filed arrearage claim will be adjusted to include post-petition installment payments
              through the month of confirmation.

              Amounts stated on a filed proof of claim, and as adjusted to include post-petition payments through the month of confirmation, will
              control over any contrary amounts listed below for the installment payment and the arrearage. Additionally, the Trustee will adjust the
              installment payment in accordance with any Notice of Mortgage Payment Change filed under Bankruptcy Rule 3002.1.

              The Trustee is authorized to pay any post-petition fee, expense, or charge for which notice is filed under Bankruptcy Rule 3002.1 if no
              objection is filed to such fee, expense, or charge.

             Creditor                                    Address of Residence          Current       Installment        Estimated                  If Current,
                                                                                         Y/N          Payment           Arrearage                    Indicate
                                                                                                                        Amount on                  by Debtor
                                                                                                                       Petition Date               or Trustee


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             Creditor                                    Address of Residence            Current         Installment         Estimated         If Current,
                                                                                           Y/N            Payment            Arrearage           Indicate
                                                                                                                             Amount on         by Debtor
                                                                                                                            Petition Date     or Trustee
 Plaza Home                         Principal Residence: 106 Gideon Place                N                 $1,361.62              $7,685.00 Trustee
 Mortgage, Inc.                     Burlington, NC 27217 Alamance County
                                    Value: Tax Value

        c.        Claims to be Paid in Full by Trustee

             Creditor                Address of Residence               Estimated            Monthly                   Monthly                 Contractual
                                                                          Claim              Payment                    Escrow                  Interest
                                                                                                                       Payment                    Rate
 -NONE-

        d.       Request for Valuation to Treat Claims as Totally Unsecured. This will be effective only if the applicable box in Section 1.1. of this plan is
              checked.

             Creditor                  Address of Residence              Estimated            Value of              Amount of                  Amount of
                                                                           Claim             Residence             Claims Senior                Secured
                                                                                                                   to Creditor's                 Claim
                                                                                                                       Claim
 -NONE-

4.2 Real Property – Claims Secured by Real Property Other Than by Debtor’s Principal Residence AND Claims Secured by Debtor’s Principal
     Residence and Additional Collateral.

        a.        None. If none is checked, the rest of Section 4.2 need not be completed or reproduced.


4.3 Personal Property Secured Claims.

        a.        None. If none is checked, the rest of Section 4.3 need not be completed and reproduced.

        b.        Claims Secured by Personal Property to be Paid in Full.

             Creditor                        Collateral                 Estimated            Monthly             Interest        Adequate            Number of
                                                                          Claim              Payment               Rate          Protection          Adequate
                                                                                                                                  Payment            Protection
                                                                                                                                                     Payments
 -NONE-

        c.         Claims Secured by Personal Property excluded from 11 U.S.C. § 506 being either (i) incurred within 910 days before the petition date
               and secured by a purchase money security interest in a motor vehicle acquired for personal use of the Debtor, or (ii) incurred within one
               (1) year of the petition date and secured by a purchase money security interest in any other thing of value. The filed claim must include
               documentation to show exclusion from 11 U.S.C. § 506 in order to be paid in full.

             Creditor                        Collateral                 Estimated            Monthly             Interest        Adequate            Number of
                                                                          Claim              Payment               Rate          Protection          Adequate
                                                                                                                                  Payment            Protection
                                                                                                                                                     Payments
 Bridgecrest Credit                 2014 Nissan Altima                      $16,400.00             $330.00             7.50%          $95.15
 Company, LLC
 Crescent Bank &                    2017 Hyundai                            $25,000.00             $501.00             7.50%        $127.50
 Trust                              Sonata

        d.         Request for Valuation to Treat Claims as Secured to the Value of the Collateral and Any Amount in Excess as Unsecured. This will be
               effective only if the applicable box in Section 1.1 of this plan is checked.




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      Creditor             Estimated             Collateral          Value of      Amount of        Amount of      Monthly       Interest    Adequate Number of
                           Amount of                                 Collateral      Claims       Secured Claim    Payment         Rate     Protectionn Adequate
                           Total Claim                                              Senior to                                                Payment    Protection
                                                                                   Creditor's                                                           Payments
                                                                                      Claim
 -NONE-

        e.        Maintenance of Payments and Cure of Default.

             Proofs of claim should reflect arrearage through the petition date. For accounts that are in default the Trustee will commence
             disbursements of installment payments the month after confirmation and any filed arrearage claims will be adjusted accordingly.
             Amounts stated on a proof of claim as adjusted to include post-petition payments through the month of confirmation, will control over
             any contrary amounts listed below for the installment payment and the arrearage.

                         Creditor                                                  Collateral                     Installment             Estimated Arrearage
                                                                                                                   Payment               Amount on Petition Date

 -NONE-
The Debtor requests that the Court determine the value of the secured claims listed as set forth in Sections 4.1.d, 4.2.d, and 4.3.d as applicable.
For each non-governmental secured claim listed above, the Debtor states that the value of the secured claim should be set out in the column
headed Amount of Secured Claim. For secured claims of governmental units only, unless otherwise ordered by the Court, the value of a secured
claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed above. For each listed claim,
the value of the secured claim will be paid in full with interest at the rate stated above.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Section 6 of this plan.
If the amount of a creditor’s secured claim is listed above as having no value, the creditor’s allowed claim will be treated in its entirety as an
unsecured claim under Section 6 of this plan. Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on the proof of
claim controls over any contrary amounts listed in Section 4.

The holder of any claim listed in Section 4 as having value in the column headed Amount of Secured Claim will retain the lien on the property
interest of the Debtor or the estate until the earlier of:

      (a) payment of the underlying debt determined under non-bankruptcy law, or

      (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

 Section 5:           Collateral to be Surrendered.

        a.        None. If none is checked, the rest of Section 5 need not be completed or reproduced.

        b.        The Debtor Proposes to Surrender to Each Creditor Listed Below the Collateral that Secures the Creditor’s Claim.

             Upon timely filing of a claim evidencing a non-avoidable lien, the Debtor will surrender the collateral in satisfaction of the secured claim,
             and the stay under 11 U.S.C. § 362(a) will be terminated as to the collateral only and the stay under § 1301 will be terminated in all
             respects effective upon confirmation of this plan. Effective upon confirmation the creditor will be allowed a period of 120 days for
             personal property and a period of 180 days for real property to file a documented deficiency claim. Any allowed unsecured claim
             resulting from disposition of the collateral will be treated as an unsecured claim under Section 6.

                                            Creditor                                                              Collateral to be Surrendered


 Mariner Finance North Carolina, Inc.                                                       2004 Isuzu Ascender

 Section 6:           Nonpriority Unsecured Claims.

6.1 Nonpriority Unsecured Claims Not Separately Classified.

        Allowed nonpriority unsecured claims will be paid pro rata with payments to commence after priority unsecured claims are paid in full.

        a.       The estimated dividend to nonpriority unsecured claims is                      0.00   %.

        b.       The minimum sum of $                      will be paid pro rata to nonpriority unsecured claims due to the following:

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                                Liquidation Value

                                Disposable Income

                                Other

6.2 Separately Classified Nonpriority Unsecured Claims.

        a.        None. If none is checked, the rest of Section 6.2 need not be completed or reproduced.


 Section 7:           Executory Contracts and Unexpired Leases.


        a.        None. If none is checked, the rest of Section 7 need not be completed or reproduced.


 Section 8:           Local Standard Provisions.

8.1 a. The Trustee shall collect and disburse payments in accordance with the plan.
     b. Proofs of claim must be filed to receive disbursements pursuant to the plan. Any claim to be paid as secured must contain evidence of a
         properly perfected lien on property of the estate. If a claim is listed as secured and the creditor files an unsecured claim, the claim will be
         treated as unsecured.
     c. Any creditor holding an allowed secured claim and to whom the Debtor is surrendering property under the order confirming plan is
         granted relief from the automatic stay as to the property and relief from any co-debtor stay so the creditor may obtain possession and
         liquidate the property. Any net proceeds, after payment of liens and costs of liquidation, are to be forwarded to the Trustee.
     d. All payments being made by the Trustee on any claim secured by real or personal property shall terminate upon the lifting of the
         automatic stay with respect to the affected property.
     e. Notwithstanding the allowance of a claim as secured, all rights under Title 11 to avoid liens are reserved and confirmation of the plan is
         without res judicata effect as to any action to avoid a lien.
     f. Notwithstanding 11 U.S.C. § 1327(b), all property of the estate as specified by 11 U.S.C. §§ 541 and 1306 shall continue to be property of
         the estate following confirmation until the earlier of discharge, dismissal, or conversion of the case.
     g. Confirmation of the plan shall not prejudice the right of the Debtor or Trustee to object to any claim.
     h. The Debtor must promptly report to the Trustee and must amend the petition schedules to reflect any significant increases in income and
         any substantial acquisitions of property such as inheritance, gift of real or personal property, or lottery winnings.

8.2 THE FOLLOWING ADDITIONAL PROVISIONS ARE APPLICABLE TO THE HOLDER OR SERVICER (“HOLDER”) OF A CLAIM SECURED BY A DEED OF
     TRUST, A MORTGAGE OR SECURITY INTEREST IN REAL PROPERTY, OR A MOBILE HOME THAT IS THE DEBTOR’S PRINCIPAL RESIDENCE:

        a. The Holder, upon confirmation, is precluded from imposing late charges or other default related fees based solely on pre-confirmation
           default.

        b. If the Trustee is disbursing ongoing monthly installment payments, the Holder must apply each ongoing payment to the month in which
           the payment is designated.

        c. For any loan with an escrow account, the Holder must prepare and must send an escrow analysis annually to the Debtor, the Trustee and
           the Debtor’s attorney. The first escrow analysis must be filed with the proof of claim in accordance with Bankruptcy Rule 3002.1. The
           escrow analysis should not include any amounts that were included or should have been included in the arrearage claim.

        d. The Holder shall continue to send monthly statements to the Debtor in the same manner as existed pre-petition and such statements will
           not be deemed a violation of the automatic stay.

        e. The Holder is required, upon request, to provide account information to the Trustee within 21 days of the request and failure to provide
           a timely response may result in an order requiring the Holder to appear and show cause as to why Holder should not be sanctioned for
           failure to comply.

        f. Nothing herein shall modify Holder’s responsibilities under Bankruptcy Rule 3002.1.

        g. Unless the Court orders otherwise, an order granting a discharge in the case shall be a determination that all pre-petition and
           post-petition defaults have been cured and the account is current and reinstated on the original payment schedule under the note and
           security agreement as if no default had ever occurred.
        h. PENALTY FOR FAILURE OF HOLDER TO COMPLY WITH THE REQUIREMENTS OUTLINED IN BANKRUPTCY RULE 3002.1.

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             Without limitation to the Court’s authority to afford other relief, any willful failure of the Holder to credit payments in the manner
             required by Bankruptcy Rule 3002.1 or any act by the creditor following the entry of discharge to charge or collect any amount incurred or
             assessed prior to the filing of the Chapter 13 Petition or during the pendency of the Chapter 13 case that was not authorized by the order
             confirming plan or approved by the Court after proper notice, may be found by the Court to constitute contempt of Court and to be a
             violation of 11 U.S.C. § 524(i) and the injunction under 11 U.S.C. § 524(a)(2).

 Section 9:           Nonstandard Plan Provisions.

             a.                 None. If none is checked, the rest of Section 9 need not be completed or reproduced.


By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) certify(ies) that the wording and order of
the provisions in this Chapter 13 Plan are identical to those contained in MDNC Local Form 113, other than any nonstandard provisions included
in Section 9.

Signature(s):

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the
Debtor(s), if any, must sign below.


 /s/ Tommy S. Blalock, III                                                        Date:   May 17, 2019
 Tommy S. Blalock, III 26467
 Signature of Attorney for Debtor(s)

 Address:              620 Green Valley Road
                       Suite 209
                       Greensboro, NC 27408
 Telephone:            (336) 274-2343
 State Bar No:         26467 NC




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                                                                     UNITED STATES BANKRUPTCY COURT
                                                                      Middle District of North Carolina

 In re: Brandon Maurice Martin                                                    )        Case No.
                                                                                  )
        106 Gideon Place                                                          )
                         (address)                                                )
        Burlington NC 27217-0000                                                  )        CHAPTER 13 PLAN
 SS# XXX-XX- xxx-xx-2831                                                          )
 SS# XXX-XX-                                                                      )
                                                                                  )
                                          Debtor(s)                               )

                                                                          CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the Notice to Creditors and Proposed Plan was served by first class mail, postage prepaid , to the following
parties at their respective addresses:

Reid Wilcox
Clerk of Court
U.S. Bankruptcy Court
Middle District of North Carolina
P.O. Box 26100
Greensboro, NC 27402
Anita Jo Kinlaw Troxler
Chapter 13 Trustee
Greensboro Division
Post Office Box 1720
Greensboro, NC 27402-1720

 Aaron's Sales & Lease Ownership, Inc.
 Attn: Officer/Managing Agent
 400 Chastain Center Blvd., NW Suite 450
 Kennesaw, GA 30144
 Alamance County Tax Collector
 124 W. Elm Street
 Graham, NC 27253
 Bedford Hills HOA
 c/o Association Management Group, Inc.
 P.O. Box 10265
 Greensboro, NC 27404
 Bridgecrest Credit Company, LLC
 Attn: Officer or Managing Agent
 7300 E. Hampton Avenue, Suite 101
 Mesa, AZ 85209-2234
 Burlington Tax Department
 237 West Maple Avenue
 Burlington, NC 27215
 Capital One
 P.O. Box 30281
 Salt Lake City, UT 84130-0281
 Credence Resource Management, LLC
 17000 Dallas Parkway, Suite 204
 Dallas, TX 75248
 Credit One Bank
 P.O. Box 98873
 Las Vegas, NV 89193
 Crescent Bank & Trust
 Attn: Officer of the Institution
 P.O. Box 61813
 New Orleans, LA 70161-1813
 Dept. of Education/Navient
 P.O. Box 9635
 Wilkes Barre, PA 18773
 First Premier Bank
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 3820 N. Louise Avenue
 Sioux Falls, SD 57107
 Internal Revenue Service
 PO Box 7346
 Philadelphia, PA 19101-7346
 Mariner Finance
 1803 S. Church Street
 Burlington, NC 27215
 Mariner Finance North Carolina, Inc.
 Attn: Officer/Managing Agent
 8211 Town Center Drive
 Nottingham, MD 21236-5904
 Montery Collection Services
 4095 Avienda De La Plata
 Oceanside, CA 92056
 North Carolina Department of Revenue
 PO Box 1168
 Raleigh, NC 27640
 Plaza Home Mortgage, Inc.
 PHH Mortgage Services
 P.O. Box 5452
 Mount Laurel, NJ 08054-5452
 Progressive Leasing
 Attn: Officer/Managing Agent
 256 West Data Drive
 Draper, UT 84020
 Schewel Furniture Company, Inc.
 2290 N. Church Street
 Burlington, NC 27217
 Schewel Furniture Company, Inc.
 Attn: Officer/Managing Agent
 PO Box 6120
 Lynchburg, VA 24505-6120
 Seventh Avenue
 1112 7th Avenue
 Monroe, WI 53566-1364
 Shapiro & Ingle, LLP
 10130 Perimeter Parkway, Suite 400
 Charlotte, NC 28216
 The Bank of Missouri
 P.O. Box 4499
 Beaverton, OR 97076
 Webbank/Fingerhut
 6250 Ridgewood Road
 Saint Cloud, MN 56303

 Date      May 17, 2019                                                          /s/ Tommy S. Blalock, III
                                                                                 Tommy S. Blalock, III 26467




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